     Case: 1:16-cv-00424 Document #: 21 Filed: 08/22/16 Page 1 of 1 PageID #:57

                     UNITED STATES DISTRICT COURT
           FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.1.1
                                Eastern Division

William Gomez
                            Plaintiff,
v.                                                Case No.: 1:16−cv−00424
                                                  Honorable Thomas M. Durkin
ZRD, LLC
                            Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Monday, August 22, 2016:


        MINUTE entry before the Honorable Thomas M. Durkin:Civil case terminated.
This action is hereby dismissed with prejudice. The 9/15/2016 status date is
stricken.Mailed notice(srn, )




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